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                                              January 29, 2025

 Via ECF
 Honorable Nelson Stephen Roman
 United States District Court
 Southern District of New York
 300 Quarropas Street
 White Plains, N.Y 10601

               Re: Kevin Adams as the Administrator of the Estate of Sean Harris v.
                   The Town of Clarkstown, et al.
                   7:24-cv-05147-NSR

 Your Honor:

       We represent the Plaintiff herein and are writing in response to Defendant Clarkstown
Police Detective Norm Peters’ letter, dated January 23, 2025, to the Court seeking a premotion
conference. Plaintiff has no objection to releasing the Defendant from the action pursuant to a
stipulation. We will contact opposing counsel and prepare an appropriate stipulation for the
Court’s signature.


        Thank you for your consideration of our request.


                                                      Respectfully submitted,

                                                      NEWMAN FERRARA, LLP


                                                      s/Randolph M. McLaughlin
                                                      Randolph M. McLaughlin

                                                      Counsel for Plaintiff

 cc: Counsel of Record (via ECF)
